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                   IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                              Case No. 21-MJ-791 CEG


JOHNNY FRANK RODRIGUEZ,

             Defendant.


                                       ORDER

      THIS MATTER is before the court on the Motion to Withdraw filed by Imtiaz

Hossain, counsel appointed to represent Defendant. The Court finds that the Motion is

well-taken and should be granted.

      IT IS THEREFORE ORDERED that the Motion to Withdraw filed by Imtiaz

Hossain is GRANTED. The Clerk shall appoint new counsel from the CJA panel to

represent Defendant in this matter forthwith.




                                         CARMEN E. GARZA
                                         CHIEF U.S. MAGISTRATE JUDGE



SUBMITTED BY:
IMTIAZ HOSSAIN
Assistant Federal Public Defender
